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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

Philadelphia Indemnity Insurance         )          C/A No. 9:19-cv-02782-SAL
Company,                                 )
                                         )
                             Plaintiff,  )
                                         )
v.                                       )
                                         )          OPINION & ORDER
Richard Alexander Murdaugh, Richard      )
Alexander Murdaugh, Jr., and Renee S.    )
Beach, as Personal Representative of the )
Estate of Mallory Beach,                 )
                                         )
                             Defendants. )
___________________________________ )

   This insurance declaratory judgment matter is before the court on cross-motions for summary

judgment. The question for the court is whether, pursuant to two insurance policies, Plaintiff

Philadelphia Indemnity Insurance Company (“Plaintiff”) owes coverage to Defendants Richard

Alexander Murdaugh (“Murdaugh”) and Richard Alexander Murdaugh, Jr. (“Murdaugh Jr.”)

(together “Murdaugh Defendants”) for the claims made against them in an action captioned, Renee

S. Beach, as Personal Representative of the Estate of Mallory Beach v. Gregory M. Parker, Inc.

a/k/a Parker’s Corporation d/b/a Parkers 5 et al., Civil Action No. 2019-CP-25-00111 (the

“Underlying Lawsuit”). For the reasons set forth below, the court finds that there is no coverage

available to the Murdaugh Defendants, and Plaintiff does not have a duty to defend them in the

Underlying Lawsuit. Therefore, the court grants Plaintiff’s motion for summary judgment and

denies the Murdaugh Defendants’ motion for summary judgment.

                      BACKGROUND & PROCEDURAL HISTORY

   Plaintiff filed this declaratory judgment action on September 30, 2019, seeking several

no-coverage declarations related to two insurance policies it issued to Murdaugh. [ECF No. 1,

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Compl.] Defendant Renee S. Beach, as the Personal Representative of the Estate of Mallory Beach

(“Defendant Beach”), answered on December 13, 2019. [ECF No. 7.] The Murdaugh Defendants

filed their answer on January 22, 2020. [ECF No. 12.]

   Plaintiff moved for summary judgment on October 30, 2020, arguing there is no genuine issue

of any material fact relating to the declaratory judgment claims and that it is entitled to judgment

as a matter of law. [ECF Nos. 20, 21.] The Murdaugh Defendants submitted a response in

opposition to Plaintiff’s Motion on November 30, 2020. [ECF No. 28.] Therein, the Murdaugh

Defendants do not argue that there is any genuine dispute of material fact. Instead, they argue one

policy is illusory and the other provides coverage based on a separate watercraft policy issued to

Murdaugh. Plaintiff filed its reply on January 11, 2021, and, after obtaining leave of court, the

Murdaugh Defendants filed a surreply. [ECF Nos. 35, 36, 40, 42.]

   The Murdaugh Defendants filed their own motion for summary judgment on January 8, 2021.

[ECF No. 34.] The motion takes their arguments in opposition to Plaintiff’s motion and submits

them as affirmative bases for a grant of summary judgment in their favor. Plaintiff responded on

January 22, 2021, and the Murdaugh Defendants filed a reply. [ECF No. 39.] Thus, both motions

are fully briefed and ripe for resolution by the court.

                            SUMMARY JUDGMENT STANDARD

   Summary judgment is appropriate if a party “shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “In

determining whether a genuine issue has been raised, the court must construe all inferences and

ambiguities in favor of the nonmoving party.” HealthSouth Rehab. Hosp. v. American Nat'l Red

Cross, 101 F.3d 1005, 1008 (4th Cir. 1996). The party seeking summary judgment shoulders the




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initial burden of demonstrating to the court that there is no genuine issue of material fact. Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986).

   Once the moving party makes this threshold demonstration, the non-moving party may not rest

upon mere allegations or denials averred in the pleading but rather must, by affidavits or other

means permitted by the Rule, set forth specific facts showing that there is a genuine issue for trial.

See Fed. R. Civ. P. 56; see also Celotex Corp., 477 U.S. at 323. A party asserting that a fact is

genuinely disputed must support the assertion by “citing to particular parts of materials in the

record, including depositions, documents, electronically stored information, affidavits or

declarations, stipulations (including those made for purposes of the motion only), admissions,

interrogatory answers, or other materials.” Fed. R. Civ. P. 56(c)(1)(A). A litigant is unable to

“create a genuine issue of material fact through mere speculation or the building of one inference

upon another.” Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985). “[W]here the record taken as a

whole could not lead a rational trier of fact to find for the non-moving party, disposition by

summary judgment is appropriate.” Teamsters Joint Council No. 83 v. Centra, Inc., 947 F.2d 115,

119 (4th Cir. 1996).

   “When faced with cross-motions for summary judgment, the court must review each motion

separately on its own merits ‘to determine whether either of the parties deserves judgment as a

matter of law.’” Rossignol v. Voorhaar, 316 F.3d 516, 523 (4th Cir. 2003) (citing Philip Morris,

Inc. v. Harshbarger, 122 F.3d 58, 62 n.4 (1st Cir. 1997)). “[T]he court must take care to ‘resolve

all factual disputes and any competing, rational inferences in the light most favorable’ to the party

opposing that motion.” Id. (citing Wightman v. Springfield Terminal Ry. Co., 100 F.3d 228, 230

(1st Cir. 1996)).

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                                 ANALYSIS & DISCUSSION

    Before reaching the substance of the parties’ summary judgment arguments, the court will

outline the allegations in the Underlying Lawsuit and the policy provisions at issue. As the parties

recognize, the question of whether Plaintiff has a duty to defend the Murdaugh Defendants in the

Underlying Lawsuit turns on whether the facts alleged in the underlying complaint create a

possibility of coverage under the insurance policies. Agape Senior Primary Care, Inc. v. Evanston

Ins. Co., 304 F. Supp. 3d 492, 497 (D.S.C. 2018). If the allegations in the underlying action do

not raise the possibility of coverage under the policies, there is no duty to defend. And without a

duty to defend, there is no duty to indemnify.1

I. Underlying Lawsuit: What are the Allegations?2

    The Underlying Lawsuit stems from certain events leading up to and including a boat crash

that occurred on or about February 23, 2019. [ECF No. 1-1, Underlying Compl.] The crash

resulted in the death of Mallory Beach, and a wrongful death action, i.e., the Underlying Lawsuit,

followed.

    The Underlying Lawsuit’s amended complaint (“Underlying Complaint”) alleges that

Murdaugh, Jr. allowed his younger brother, who was under the age of 21, to “use his driver’s




1
  The duty to defend is both separate from and broader than the duty to indemnify. Ross Dev.
Corp. v. Fireman’s Fund Ins. Co., 809 F. Supp. 2d 449, 457 (D.S.C. 2011). While the question of
whether an insurer has a duty to defend an insured is ripe upon the filing of an underlying
complaint, the question of whether that insurer has a duty to indemnify is “ordinarily [] advisory
when the insured’s liability remains undetermined.” Trustgard Ins. Co. v. Collins, 942 F.3d 195,
200 (4th Cir. 2019). Given that the Murdaugh Defendants’ liability remains undetermined, the
court limits its summary judgment analysis to the following question: Do the allegations in the
Underlying Lawsuit set forth a possibility of coverage under the two policies? In that regard, if
the court determines Plaintiff does not have a duty to defend, it necessarily follows that Plaintiff
does not have a duty to indemnify.
2
  A copy of the amended complaint in the Underlying Lawsuit is attached as an exhibit to Plaintiff’s
Complaint. [ECF No. 1-1.]
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license to purchase and consume alcohol illegally.” Id. at ¶ 8; see also Compl. at ¶ 11; [ECF No.

12, Murdaugh Ans. at ¶ 3 (admitting “that the stated allegations are correct recitations of the

allegations contained in the underlying lawsuit but [] deny[ing] the truth of each and every

allegation contained therein”).] It further alleges that Murdaugh Jr. had “actual knowledge” that

his brother was “us[ing] the license to purchase alcohol for consumption by other minors.”

Underlying Compl. at ¶ 8; see also Compl. at ¶ 10; Murdaugh Ans. at ¶ 3.

   As to Murdaugh, the Underlying Complaint contends that he “had knowledge or should have

known that his minor son illegally purchased and consumed alcohol on a regular basis by using or

displaying” Murdaugh Jr.’s license and he “knowingly and willfully allowed his minor son to

illegally use” Murdaugh Jr.’s license “to purchase or consume alcohol.” Underlying Compl. at

¶¶ 9, 10; Compl. at ¶ 10; Murdaugh Ans. at ¶ 3. It further contends that “it was foreseeable that

[Murdaugh’s] minor son would purchase alcohol for consumption by other minors.” Underlying

Compl. at ¶ 10; Compl. at ¶ 10; Murdaugh Ans. at ¶ 3.

   According to the Underlying Complaint, on February 23, 2019, Murdaugh Jr.’s brother used

the license to purchase alcoholic beverages and then shared the beverages with other minors who

then became intoxicated. Underlying Compl. at ¶¶ 12–14; Compl. at ¶ 11; Murdaugh Ans. at ¶ 3.

It is alleged that “certain minors . . . consumed the alcohol . . . throughout the evening of February

23, 2019, and at least one of the minors was operating a boat with several passengers on Archer’s

Creek when the boat collided with a bridge.” Underlying Compl. at ¶ 16; Compl. at ¶ 12;

Murdaugh Ans. at ¶ 3. Mallory Beach was ejected from the boat, suffered “catastrophic injuries

to her person,” and died. Id.

   Based on the aforementioned allegations, the plaintiff in the Underlying Lawsuit alleges

Murdaugh and Murdaugh Jr. were “negligent, negligent per se, careless, reckless, grossly



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negligent, willful and wanton and acted intentionally” in relation to the events leading up to the

death of Mallory Beach. Underlying Compl. at ¶ 18(j)–(o); Compl. at ¶ 13; Murdaugh Ans. at ¶ 3.

She seeks “actual and punitive damages, costs and attorneys’ fees.” Underlying Compl. at

WHEREFORE.

II. The Policies: What Do They Cover?

    Plaintiff in this case is the insurance company that issued a commercial lines policy of

insurance, policy number PHPK1926389 (“CGL Policy”), and a commercial umbrella liability

insurance policy, policy number PHUB660797 (“Umbrella Policy”), to Murdaugh on January 6,

2019. Compl. at ¶ 17; Murdaugh Ans. at ¶ 4. Both policies cover the policy period January 6,

2019 to January 6, 2020, and describe the “Business” as “Guides and Outfitters.” Compl. at

¶¶ 17, 18; Murdaugh Ans. at ¶¶ 4, 5; [see also ECF No. 1-2 at pp.6, 13; ECF No. 1-3 at p.4.]3

    A. CGL Policy.

    Coverage A of the CGL Policy provides that Plaintiff “will pay those sums that the insured

becomes legally obligated to pay as damages because of ‘bodily injury’ or ‘property damage’ to

which this insurance applies.” [ECF No. 1-2, Commercial General Liability Coverage Form,

Sec.I(A)(1)(a), p.1.] “However, [the insurer] will have no duty to defend the insured against any

‘suit’ seeking damages for ‘bodily injury’ or ‘property damage’ to which this insurance does not

apply.” Id. The “bodily injury” or “property damage” must be caused by an occurrence, take place

in the coverage territory, and occur during the policy period. Id. at Sec.I(A)(1)(b)(1), (2). “Bodily




3
  Copies of the policies appear in a variety of places in the record, and no party disputes the
authenticity of any copies submitted. Copies were attached to the Complaint, the Declaration by
Plaintiff, Plaintiff’s Motion, the Murdaugh Defendants’ opposition to Plaintiff’s Motion, and the
Murdaugh Defendants’ Motion. [ECF Nos. 1-2, 1-3, 19-2, 19-3, 21-3, 21-4, 28-2, 28-3, 34-3, 34-
4.] It appears all copies are the same. For consistency purposes and ease of reference, the court
cites to the policies attached to the Complaint throughout the remainder of this order.
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injury” includes “bodily injury, sickness or disease sustained by a person, including death resulting

from any of these at any time.” Id. at Sec.V(3), p.13. An “occurrence” is defined as an “accident,

including continuous or repeated exposure to substantially the same general harmful conditions.”

Id. at (13), p.15.

    Section II defines who constitutes an “insured” under the CGL Policy. See id. at Sec.II, p.9.

If an individual is designated in the declarations, the individual and the individual’s spouse are

both insureds. Id. at (1)(a); see also id. at Common Policy Declarations (listing R. Alexander

Murdaugh as the named insured). Moreover, the “‘volunteer workers only while performing duties

related to the conduct of [the] business, or [] ‘employees’ . . . only for acts within the scope of their

employment . . . or while performing duties related to the conduct of [the] business” constitute

insureds. Id. at Sec.II(2)(a), p.10. Further, “[a]ny person (other than [the] ‘employee’ or ‘volunteer

worker’), or any organization while acting as your real estate manager” constitutes an insured. Id.

at (b).4 A “volunteer worker” is a “person who is not [an] ‘employee’ and who donates his or her

work and acts at the direction of and within the scope of duties determined by you, and is not paid

a fee, salary or other compensation by you or anyone else for their work performed[.]” Id. at

Sec.V(20), p.16. An “employee,” in contrast, includes a “leased worker,” but not a “temporary

worker.” Id. at (5) p.13.5

    The CGL Policy also includes several endorsements that modify coverage.                   One such

endorsement is the “Limitation of Coverage to Designated Activities” endorsement. It “modifies

insurance provided under” the Commercial General Liability Coverage Part. Id. at Limitation of



4
  Section II includes additional definitions of “insured,” but none of those definitions are at issue
in this case.
5
  A “leased worker” is a “person leased . . . by a labor leasing firm under an agreement between
[the insured] and the labor leasing firm, to perform duties related to the conduct of your business.”
[ECF No. 1-2 at Sec.V(10), p.14.]
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Coverage to Designated Activities. In that regard, the insurance “applies only to ‘bodily injury,’

‘property damage,’ ‘personal and advertising injury,’ and medical expenses arising out of the

Activities listed in the above SCHEDULE.” Id. (emphasis added). The Schedule then includes

one activity: Private hunting operations.

   In addition to the endorsement, the CGL Policy includes several exceptions, including an

expected or intended injury exclusion and an aircraft, auto, and watercraft exclusion. Id. at

Sec.I(2)(a), (g), pp.2, 4. Plaintiff relies on both exclusions at summary judgment. The first

excludes coverage for bodily injury “expected or intended from the standpoint of the insured,” but

does not exclude bodily injury “resulting from the use of reasonable force to protect persons or

property.” Id. at Sec.I(2)(a). The second excludes coverage for bodily injury “arising out of the

ownership, maintenance, use or entrustment to others of any . . . watercraft owned or operated by

or rented or loaned by any insured.” Id. at Sec.I(2)(g).

   B. Umbrella Policy.

   As noted above, at the same time Plaintiff issued the CGL Policy, it issued a Commercial

Umbrella Liability Insurance Policy, the “Umbrella Policy.” [ECF No. 1-3.] The Umbrella

Policy’s declarations list the form of business as “Individual,” and the business description as

“Guides & Outfitters Umbrella.”       Id. at Commercial Umbrella Liability Insurance Policy

Declarations, p.2. The Schedule of Underlying Insurance lists one commercial general liability

policy issued by Plaintiff, and it is the CGL Policy described above. Id. at p.3. The “Employers’

Liability,” “Commercial Auto Liability,” “Professional Liability, “Employee Benefits Liability,”

“Abuse or Molestation,” “Directors & Officers Liability,” “Liquor Liability,” “Watercraft

Liability,” and “Other Coverages Not Included in Above” are all blank. Id. at pp.3–5.




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    The Umbrella Policy provides that Plaintiff “will pay on behalf of the insured the ‘ultimate net

loss’ in excess of the ‘applicable underlying limit’,’ whether or not collectible, which the insured

becomes legally obligated to pay as damages because of ‘bodily injury,’ ‘property damage’ or

‘personal and advertising injury’ to which this insurance applies.” Id. at Commercial Umbrella

Liability Insurance Policy, Sec.I(1), p.1. Like the CGL Policy, the “bodily injury” must arise out

of an “occurrence” within the “coverage territory,” and during the policy period. Id. at (1)(a)(1),

(2).6

    Like the CGL Policy, the Umbrella Policy defines who constitutes an “insured” in Section II.

Id. at Sec.II. An insured includes the “individual” “designated in the Declarations,” including that

person’s spouse, but “only with respect to the conduct of a business of which [the named individual

is] the sole owner.” Id. at (1)(a). “‘[V]olunteer workers’ [] while performing duties related to the

conduct of your business, or your ‘employees’ . . . for acts within the scope of their employment

. . . or while performing duties related to the conduct of your business” also constitute insureds.

Id. at (1)(c)(1). This definition also includes “[a]ny person . . . while acting as your real estate

manager.” Id. at (1)(c)(2). And the final definition of “insured” at issue in the case is found in

subsection (f):

                  Any other person or organization insured under any policy of the
                  “underlying insurance.” This grant is subject to all the limitations
                  upon coverage under such policy other than the limits of the
                  “underlying insurers”[sic] liability.

Id. at (1)(f) (emphasis added). “Underlying insurance” is defined as “any policies of insurance

listed in the Declarations under the Schedule of Underlying Insurance7 and includes” “[a]ny




6
  The term “bodily injury” is defined in the same manner as in the CGL Policy. [ECF No. 1-3,
Commercial Umbrella Liability Insurance Policy, Sec.V(6).]
7
  It is undisputed that the only policy appearing in the Schedule is the CGL Policy.
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renewal or replacement of such policies” and “[a]ny other insurance available to the insured.” Id.

at Sec.V(24). Similarly, “underling insurer” includes “any insurer which provides any policy of

insurance listed in the Schedule of Underlying Insurance or any other insurance available to the

insured.” Id. at (25).

   Also like the CGL Policy, the Umbrella Policy includes endorsements that modify coverage.

The endorsement at issue in this case is the General Liability Follow Form Endorsement. It

“modifies [the] insurance provided under” the “Commercial Umbrella Liability Insurance Policy”

i.e., the Umbrella Policy itself. Id. at General Liability Follow Form Endorsement. It states:

               This policy is intended to include Commercial General Liability
               Coverage.

               The Commercial General Liability insurance provided will follow
               the same provisions, exclusions and limitations that are contained in
               the applicable “underlying insurance” shown in the Schedule of
               Underlying Insurance unless otherwise directed by this policy, or an
               endorsement to this policy.

               To the extent that such provisions differ or conflict, the provisions
               of this policy will apply. However, the coverage provided under this
               policy will not be broader than that provided by the applicable
               “underlying insurance.”

               Any per location or project aggregate limit of insurance that is
               extended in the applicable “underlying insurance” shown in the
               Schedule of Underlying Insurance will not apply to the coverage
               provided by this endorsement.

Id. (emphasis added).

III. The Parties’ Positions and the Court’s Analysis.

   Plaintiff is currently defending Murdaugh and Murdaugh Jr. under the CGL Policy pursuant to

a reservation of rights, but it filed this action seeking declarations that the two policies do not

provide coverage and it has no obligation to defend the Murdaugh Defendants in the Underlying

Lawsuit. See Compl. at ¶ 32; Murdaugh Ans. at ¶ 7. In its motion for summary judgment, Plaintiff

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raises five arguments: (1) the Murdaugh Defendants are not insureds under the policies; (2) the

policies only provide coverage for “bodily injury” that arises out of private hunting operations; (3)

the Underlying Lawsuit does not allege an “occurrence;” (4) the watercraft exclusion applies to

exclude coverage; and (5) because there is no coverage, it has no duty to defend or indemnify.

[ECF No. 21-1.]

    In response to Plaintiff’s Motion, and in their own motion for summary judgment, the

Murdaugh Defendants claim the policies provide coverage in relation to the allegations asserted in

the Underlying Lawsuit. More specifically, they argue that because they are insureds under a

Progressive Northern Insurance Company8 insurance policy covering the 2006 Sea Hunt 175

Escape involved in the February 23, 2019 boat crash, they are insureds under the Umbrella Policy.

[ECF No. 28 at pp.5–12; ECF No. 34-1 at pp.5–11.] Further, the Murdaugh Defendants contend

that Plaintiff’s coverage position renders coverage under both policies illusory. [ECF No. 28 at

pp.12–14; ECF No. 34-1 at pp.11–14.] They also contend that the Underlying Lawsuit alleges an

“occurrence,” and the exclusions do not bar coverage.

    Neither party’s opposition briefing identifies a disputed fact, let alone a material one.9 See

Fed. R. Civ. P. 56(a), (c). Thus, the court is left with examining the insurance contracts at issue,




8
  Progressive is not a party to this action.
9
  In their opposition to Plaintiff’s Motion, the Murdaugh Defendants make a generalized assertion
that “the denial of [Plaintiff’s] Motion for Summary Judgment merely requires the existence of a
genuine issue as to any material fact.” [ECF No. 28 at p.20 n.7.] This, of course, is not enough to
defeat a properly supported motion for summary judgment. See Fed. R. Civ. P. 56(c)(1) (“A party
asserting that a fact . . . is genuinely disputed must support the assertion by: (A) citing to particular
parts of materials in the record, including depositions, documents, electronically stored
information, affidavits, or declarations, stipulations . . . , admissions, interrogatory answers, or
other materials; or (B) showing that the materials cited do not establish the absence . . . of a genuine
dispute, or that an adverse party cannot produce admissible evidence to support the fact.”). The
generalized statement fails to identify any fact in dispute, let alone a material one supported by the
record.
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assessing whether the language is clear or ambiguous, and then determining whether one party or

the other is entitled to judgment as a matter of law. Therefore, before reaching the specifics of the

parties’ arguments, the court outlines the interpretation principles guiding its analysis.

    A. Interpreting Insurance Contracts and the Duty to Defend.

    In South Carolina, “[i]nsurance policies are subject to the general rules of contract

construction.” B.L.G. Enters., Inc. v. First Fin. Ins. Co., 514 S.E.2d 327, 330 (S.C. 1999). “The

cardinal rule of contract interpretation is to ascertain and give legal effect to the parties’ intentions

as determined by the contract language.” Schulmeyer v. State Farm Fire and Cas. Co., 579 S.E.2d

132, 134 (S.C. 2003). “An insurance contract is read as a whole document so that ‘one may not,

by pointing out a single sentence or clause, create an ambiguity.’” Id. (citing Yarborough v.

Phoenix Mut. Life Ins. Co., 225 S.E.2d 344, 348 (S.C. 1976)). “The meaning of a particular word

or phrase is not determined by considering the word or phrase by itself, but by reading the policy

as a whole and considering the context and subject matter of the insurance contract.” State Farm

Fire and Cas. Co. v. Morningstar Consultants, Inc., No. 6:16-cv-01685, 2017 WL 2265919, at *2

(D.S.C. May 24, 2017) (citing Yarborough, 225 S.E.2d at 349).

    “When a contract is unambiguous, clear and explicit, it must be construed according to the

terms the parties have used, to be taken and understood in their plain, ordinary and popular sense.”

C.A.N. Enters., Inc. v. South Carolina Health & Human Servs. Fin. Comm’n, 373 S.E.2d 584, 586

(S.C. 1988). Ambiguities, in contrast, are resolved in favor of the insured. Greenville Cnty. v.

Insurance Reserve Fund, 443 S.E.2d 552, 548 (S.C. 1994) (“Where the words of an insurance

policy are capable of two reasonable interpretations, that construction will be adopted which is

most favorable to the insured.” (citing McPherson v. Michigan Mut. Ins. Co., 426 S.E.2d 770, 771

(S.C. 1993))). But “[w]here a motion for summary judgment presents a question concerning the



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construction of a written contract, the question is one of law if the language employed by the

contract is plain and unambiguous.” Moss v. Porter Bros., Inc., 357 S.E.2d 25, 27 (S.C. Ct. App.

1987).

   Finally, it is well understood that an insurer’s duty under a policy is “defined by the terms of

the policy and cannot be enlarged by judicial construction.” South Carolina Ins. Co. v. White, 390

S.E.2d 471, 474 (S.C. Ct. App. 1990). In assessing whether an insurer has a duty to defend an

insured, the court “compare[s] the allegations in the complaint to the policy language.” Union Ins.

Co. v. Soleil Grp., Inc., 465 F. Supp. 2d 567, 574 (D.S.C. 2006). “If the facts alleged in the

underlying complaint ‘fail to bring the case within the policy coverage, the insurer is free of the

obligation to defend.’” Id. at 572 (citing R.A. Earnhardt Textile Mach. Div., Inc. v. South Carolina

Ins. Co., 282 S.E.2d 856, 857 (S.C. 1981)). “In examining [the] allegations, the ‘court must look

beyond the labels describing the act to the acts themselves which form the basis of the claim against

the insurer.’” Walde v. Ass’n Ins. Co., 737 S.E.2d 631, 635 (S.C. Ct. App. 2012) (citation omitted).

Therefore, this court must examine the policy language, determine whether there are any

ambiguities, and then compare the policy language to the allegations in the Underlying Lawsuit.

McElveen v. Cincinnati Ins. Co., 422 F. Supp. 3d 1068, 1074 (D.S.C. 2019).

   B. Who Constitutes an Insured?

   With the basic interpretation parameters in mind, the court turns to the first question of

interpretation: Who constitutes an insured?

   Plaintiff’s Motion submits that the Murdaugh Defendants are not entitled to coverage,

including a defense, because they do not qualify as “insureds” under the two policies. In response

and in their own Motion, the Murdaugh Defendants submit that they qualify as “insureds” under




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the Umbrella Policy and that Plaintiff’s position on coverage renders both policies illusory. A

closer look at the parties’ arguments narrows the focus of the court’s analysis.

   As to Murdaugh, Plaintiff relies on the first definition of “insured” in the CGL Policy and the

Umbrella Policy, i.e., an individual designated in the declarations, but only “with respect to the

conduct of a business of which [the individual is] the sole owner.” [ECF No. 1-2, Commercial

General Liability Coverage Form, Sec.II(1)(a) (emphasis added); ECF No. 1-3, Commercial

Umbrella Liability Insurance Policy, Sec.II(1)(a) (same).] Plaintiff submits that because the

“business” covered by the policies is one of “Guides & Outfitters” and the allegations against

Murdaugh in the Underlying Lawsuit do not relate to that business, Murdaugh does not qualify as

an “insured.” [ECF No. 21-1 at p.15.]

   With respect to Murdaugh, Jr., Plaintiff argues his name does not appear on the declarations

and the only way he could qualify as an “insured” is if he is a “volunteer worker” or an “employee”

of Murdaugh, acting within the scope of his employment. [ECF No. 21-1 at p.15.] Plaintiff

submits that the Underlying Lawsuit does not allege that Murdaugh Jr. was acting in either capacity

because it does not include any allegations related to the business described in the policies—one

of “Guides & Outfitters.” Id.

   The Murdaugh Defendants do not dispute the fact that the policies define the business as one

of “Guides & Outfitters,” nor do they dispute the fact that the Underlying Lawsuit is entirely

unrelated to the “conduct of [that] business.” [ECF No. 28 at pp.7–9; see also ECF No. 34-1 at

pp.5–9.] Moreover, the Murdaugh Defendants do not dispute that Murdaugh Jr. is not a “volunteer

worker” or “employee” of Murdaugh. This is where they argue the illusory coverage doctrine and




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their qualification as an “insured” under the Umbrella Policy.10        The court addresses—but

ultimately disagrees—with both arguments.

        1. Illusory Coverage Doctrine.

     South Carolina’s illusory coverage doctrine simply does not extend as far as the Murdaugh

Defendants suggest. The doctrine is intended “to protect insureds where the terms of an insurance

policy exclude from coverage ‘the very risk contemplated by the parties,’ rendering a policy

provision ‘virtually meaningless.’” Dudek v. Commonwealth Land Title Ins. Co., 466 F. Supp. 3d

610, 620 (D.S.C. 2020) (citing Isle of Palms Pest Control Co. v. Monticello Ins. Co., 459 S.E.2d

318, 321 (S.C. Ct. App. 1994), writ granted in part on other grounds, decision aff’d, 468 S.E.2d

304 (1996)). It “applies where the language of the policy ‘negate[s] virtually all coverage for the

insured,’ and the insurance contract, read literally, is ‘a delusion to the insured.’” East Bridge

Lofts Property Owners Ass’n, Inc. v. Crum & Forster Specialty Ins. Co., No. 2:14-cv-2567, 2015

WL 12831694, at *2 (D.S.C. Dec. 22, 2015) (citations omitted). Stated differently, “the doctrine

applies when exclusions ‘in effect allow the insurer to receive premiums when realistically it is

not incurring any risk of liability.’” Id. (citation omitted).

     A recent explanation and application of the doctrine by the Honorable David C. Norton is

particularly instructive to this court’s analysis. See Dudek, 466 F. Supp. 3d at 620. Judge Norton

applied the illusory coverage doctrine in Dudek because the policy extended coverage for a specific

type of loss and then the exceptions eliminated that coverage. Id. (“The Policy extends coverage

for adverse easement claims and simultaneously, by way of two exclusions, completely eliminates

the very coverage it purports to extend.”). Simply put, the coverage provisions gave the insured



10
  The Murdaugh Defendants also raise the illusory coverage doctrine in their own Motion. The
arguments of the parties are the same in both sets of briefing. Thus, the court considers the issues
together, affording each side the appropriate burden.
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coverage for one type of loss, and the exceptions negated the coverage. The end result was that

the insured paid for a policy that did not offer any possibility of coverage. Judge Norton’s opinion

stated: “The court can think of no policy provisions better suited for application of the illusory

coverage doctrine.” Id. Turning to the Murdaugh Defendants’ arguments, the court quickly sees

that it is not presented with a similar or analogous situation.

     In his affidavit, Murdaugh submits that while he does “engage in Private Hunting Operations,”

he does not “engage[] in those operations as a business.” [ECF No. 28-4, Aff. of R. Murdaugh

¶ 4; see also id. at ¶¶ 5, 6.] Accordingly, Murdaugh argues that if he is required to be engaged in

“the conduct of a business of which you are the sole owner” to obtain coverage, he “would never

be afforded coverage in any circumstance.” [ECF No. 34-1 at p.13; ECF No. 28 at p.13.]11 This

argument does not establish (or even suggest) that the policy is illusory, however.

     Unlike the Dudek case, the Murdaugh Defendants do not point to a section of the policy

providing that its intent is to provide coverage for a boating crash, followed by an exclusion taking

away that same intended coverage. Murdaugh also does not present any evidence to suggest that

the policy provides no coverage in the event an individual is injured as a result of the admitted

private hunting operations that take place on the property. The court has no reason to believe that

the policies would not provide coverage in the event all other policy requirements are met—bodily

injury is the result of an occurrence, during the policy period, within the coverage territory, etc.

Accordingly, Murdaugh’s affidavit establishes—at best—a mistake on his part. He thought he

was purchasing one type of coverage but ended up with some another type of coverage (but




11
  In line with the same reasoning, Murdaugh Jr. would not ever qualify as an insured because, if
there is no business, there are no employees. Though, neither Murdaugh’s affidavit nor the
Murdaugh Defendant’s opposition reach Plaintiff’s arguments on the “volunteer worker” and
“employee” issue.
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coverage nonetheless).12 He expected one thing. He received something else.13 The question then

is whether this scenario renders the policy an illusory one? From this court’s perspective, it does

not.

     The Murdaugh Defendants’ argument seems to be an attempt to morph the doctrine of

reasonable expectations14 into the illusory coverage doctrine. The problem with this argument is

two-fold. One, the affidavit testimony does not raise even the possibility of illusory coverage, as

recognized by South Carolina caselaw. The two policies cover exactly what they say they will

cover, and the Murdaugh Defendants have not submitted any evidence to the contrary. The fact

that Murdaugh wants the policies to cover the boating crash, and they may not, does not render the

policies illusory. Two, even if the court construed the Murdaugh Defendants’ argument as one for

application of the doctrine of reasonable expectations, the type of coverage available and provided

by the policies was apparent from the face of the documents. “South Carolina’s limited application

of the doctrine of reasonable expectations is consistent with South Carolina’s broadly applied rule

that ‘[o]ne entering into a contract should read it and avail himself of every reasonable opportunity

to understand its content and meaning.’” DHW Purchasing Grp., LLC v. Hub Int’l Midwest Ltd.,

No. 3:19-cv-1243, 2019 WL 5700457, at *8 (D.S.C. Nov. 4, 2019) (citing Doub v. Weathersby-




12
   The court also notes that a self-serving affidavit, without more, is insufficient to defeat an
opposing party’s motion for summary judgment. See Nat’l Enters., Inc. v. Barnes, 201 F.3d 331,
335 (4th Cir. 2000).
13
   The only claims in this action are Plaintiff’s claims for declaratory judgment.
14
   South Carolina limits application of the doctrine of reasonable expectations. “[T]he reasonable
expectations of the parties entering into an insurance contract will be honored within the confines
of [South Carolina’s] interpretive rules and fairness principles.” Bell v. Progressive Direct Ins.
Co., 757 S.E.2d 399, 406 (S.C. 2014) (declining to apply the doctrine where the contract of
insurance is unambiguous). However, the doctrine “cannot be used to alter the plain terms of an
insurance policy.” Id. at 407; see also Allstate Vehicle and Prop. Ins. Co. v. Hunter, No. 9:17-cv-
00384, 2019 WL 251500, at *4 (D.S.C. Jan. 17, 2019) (declining to apply doctrine of reasonable
expectations “[b]ecause the language of the Policy is clear and unambiguous”).
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Breeland Ins. Agency, 233 S.E.2d 111, 114 (S.C. 1977)). Anyone reading the policy would know

that the coverage provided is limited to the business stated. The limitation is not hidden. It is

repeated in several places. And the language used is unambiguous in all respects. Thus, there is

no evidence in the record to support even an inference that the two policies are illusory.

     In accordance with the foregoing analysis, the court finds that the illusory coverage doctrine

does not apply as a matter of law. As a result, the court is left to compare the allegations in the

Underlying Lawsuit to the unambiguous definitions of “insured” in the CGL Policy,15 and it

concludes that Plaintiff is entitled to a declaration that the allegations do not create the possibility

of the Murdaugh Defendants qualifying as “insureds” under that policy. For this reason, the court

finds that there is no coverage for the Murdaugh Defendants under the CGL Policy, and Plaintiff

does not owe a duty to defend pursuant to that policy.

        2. “Underlying Insurance.”

     The Murdaugh Defendants’ second argument in response to Plaintiff’s Motion (and in support

of their own Motion) relates to the Umbrella Policy alone. The Murdaugh Defendants argue that

they qualify as “insureds” under one part of one definition of “insured” in the Umbrella Policy.

[ECF No. 28 at pp.5–12; see id. at p.9 (“Defendants are insureds under the Umbrella Policy”);

ECF No. 34-1 at pp.5–11.] Plaintiff, in reply and response, submits that the Murdaugh Defendants’




15
  Again, the Murdaugh Defendants do not argue that the definitions of “insured” relied upon by
Plaintiff are ambiguous. They are not. Instead, the Murdaugh Defendants’ only argument in
opposition to Plaintiff’s argument that they are not “insureds” under the CGL Policy is the illusory
coverage doctrine. The Murdaugh Defendants’ second argument, addressed in Section III(B)(2)—
“Underlying Insurance,” relates solely to the definition of “insured” in the Umbrella Policy.
Having rejected application of the illusory coverage doctrine, Plaintiff is entitled to judgment as a
matter of law on its declaration the Murdaugh Defendants do not qualify as “insureds” under the
CGL Policy.
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reading contravenes an endorsement and the clear intent of the policy. [ECF No. 35 at pp.3–4;

ECF No. 37 at pp.3–4.] The court agrees with Plaintiff.

   An opening note: Analyzing and interpreting an insurance contract requires more page flipping

and cross-referencing than any other task this court faces. The Murdaugh Defendants’ arguments

with respect to the Umbrella Policy’s definition of “insured” epitomize that reality. While the

court is forced to walk through each relevant and applicable provision in painstaking detail,

deconstructing the language at each step and mapping out the flaws or missteps in the Murdaugh

Defendants’ analysis, the reality is that the issue simply is not that complicated. It can be summed

up in two sentences. Sentence 1: A plain reading of the Umbrella Policy makes it abundantly

clear that it goes hand-in-hand with the CGL Policy. Sentence 2: If the Murdaugh Defendants’

alleged actions in the Underlying Lawsuit do not bring them within the definition of “insured” in

the CGL Policy, they cannot qualify as “insureds” under Part (f) of Section II of the Umbrella

Policy. Now, let’s break down how the court gets there.

   As noted above, the focus of the Murdaugh Defendants’ argument is Part (f) of Section II—

“Who is an Insured.” Part (f) provides that an insured includes “[a]ny other person or organization

under any policy of the ‘underlying insurance.’ This grant is subject to all the limitations upon

coverage under such policy other than the limits of the ‘underlying insurers’[sic] liability.” [ECF

No. 1-3, Commercial Umbrella Liability Insurance Policy, Sec.II(3)(f), p.16 (emphasis added).]

The Murdaugh Defendants point to the phrase “any policy” therein, as well as the definitions of

“underlying insurance” and “underlying insurer” to support their position that they are “insureds.”

   More specifically, the Murdaugh Defendants note that the terms “underlying insurance” and

“underlying insurer” include the phrase, “[a]ny other insurance available to the insured.” Id. at

Sec.V(24), (25), p.28 (emphasis added). Pointing to these definitions, the Murdaugh Defendants



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argue that the Progressive policy covering the watercraft at issue in the boat crash qualifies as

“underlying insurance” by an “underlying insurer” because it is available to them. Thus, by the

Murdaugh Defendants’ reading, they qualify as insureds under the Umbrella Policy because they

are “other person[s] . . . under any policy of the ‘underlying insurance,’” with the Progressive

policy being the underlying insurance. Id. at Sec.II(3)(f). The court cannot agree.

   The Murdaugh Defendants’ argument runs counter to the long-established construction

principle that “[t]he provisions of an insurance contract should be considered within the context of

the policy as a whole, ‘and one may not, by pointing to a single sentence or clause, create an

ambiguity.’” Dudek, 466 F. Supp. 3d at 616 (citing Yarborough v. Phoenix Mut. Life Ins. Co., 225

S.E.2d 344, 348 (S.C. 1976)). A plain reading of the Umbrella Policy as a whole shows that

subsection (f) only grants “insured” status to someone who qualifies as an insured under the CGL

Policy. How does the court know that?

   First, it looks to the entirety of the definition of “underlying insurance.” Underlying insurance

means “any policies of insurance listed in the Declarations under the Schedule of Underlying

Insurance and includes: a. Any renewal or replacement of such policies; and b. Any other insurance

available to the insured.” [ECF No. 1-3, Commercial Umbrella Liability Insurance Policy,

Sec.V(24), p.28.] Now, let’s break it down. The first part provides that underlying insurance

means those policies listed in the Declarations under the Schedule of Underlying Insurance.

Looking to the Declarations and the Schedule, we see one policy—the CGL Policy. Id. at Schedule

of Underlying Insurance p.3. No other policies are listed in the Schedule. At this point, the court

knows that the CGL Policy qualifies as “underlying insurance.”

   Now, the court turns to the second portion of the definition of “underlying insurance,”

subsection (a). There, we see that “[a]ny renewal or replacement of such policies,” qualifies as



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“underlying insurance.” Id. at Sec.V(24), p.28 (emphasis added). Renewals or replacements

qualify as underlying insurance. But renewals or replacements of what? That’s where the phrase

“such policies” comes into play. Reading subsection (a) with the first part of the definition, the

court concludes that “such policies” necessarily refers to the policies already identified. Again,

back to the CGL Policy, the only policy identified in the Schedule. Therefore, pursuant to

subsection (a), the court now knows that any renewal or replacement of the CGL Policy qualifies

as underlying insurance.

   Finally, we get to the portion of the definition relied upon by the Murdaugh Defendants,

subsection (b). This portion of the definition provides that “[a]ny other insurance available to the

insured” qualifies as underlying insurance. Id. (emphasis added). In accordance with South

Carolina’s principles of interpretation of insurance contracts, the court must read subsection (b) in

with subsection (a) and the first portion of the definition of “underlying insurance,” as well as all

other provisions in the policy. Looking back to the first portion of the definition and subsection

(a), we know that these two pieces of the definition are tied together, i.e., the renewal or

replacement policy only qualifies as “underlying insurance” if it is a renewal or replacement of the

policy that appears in the Schedule. Reading subsection (b), we learn that other available insurance

qualifies, but it must be other insurance “available to the insured.” Well, who is “the insured?”

   Again, reading subsection (b) in conjunction with subsection (a) and the first part of the

definition of “underlying insurance,” the only reasonable interpretation of the phrase “the insured”

is the person qualifying as an insured under the policy listed in the Schedule or any renewal or

replacement policy of such policy. Yet again, the court is right back where it started—the CGL

Policy. For “[a]ny other insurance available to the insured” to qualify as underlying insurance

under the Umbrella Policy, it must be an insurance policy available to an individual who qualifies



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as an insured under the policy or policies identified in the first sentence and/or subsection (a) of

the definition of “underlying insurance.” Here, the only qualifying policy is the CGL Policy.

     As outlined in Section III(B)(1), supra, neither Murdaugh nor Murdaugh Jr. qualify as

“insureds” under the CGL Policy in relation to the allegations lodged against them in the

Underlying Lawsuit. Because they do not qualify as “the insured[s]” under the CGL Policy, they

cannot qualify as “insureds” under the Umbrella Policy by way of Part (f) of Section II’s use of

the term “underlying insurance.”     The existence of the Progressive policy is simply irrelevant to

the analysis of Part (f).

     In accordance with the foregoing, the court declines the Murdaugh Defendants’ suggestion that

they qualify as “insureds” under the Umbrella Policy because they are insureds under the

Progressive policy. The plain and unambiguous language of the Umbrella Policy does not support

their position. Therefore, Plaintiff is entitled to judgment as a matter of law that neither Murdaugh

nor Murdaugh Jr. qualify as insureds under the Umbrella Policy.16

     C. The Endorsement: Coverage Limited to Private Hunting Operations.

     Briefly, the court turns to the parties’ arguments regarding whether coverage is limited in both

policies to private hunting operations. These arguments relate to two separate endorsements in the

CGL and Umbrella policies.

     Plaintiff points to the CGL Policy’s endorsement that limits coverage to bodily injury arising

out of private hunting operations and the Umbrella Policy’s follow form endorsement to argue that

there is no coverage available where the Underlying Lawsuit does not allege anything related to



16
  Just as with the CGL Policy, see footnote 15, supra, the Murdaugh Defendants do not contest
Plaintiff’s other arguments regarding why they fail to qualify as “insureds” under the other
definitions in Section II of the Umbrella Policy. Having rejected the Murdaugh Defendants’
“underlying insurance” argument and having concluded that the insurance contract is plain and
unambiguous, Plaintiff is entitled to judgment as a matter of law.
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private hunting operations. [ECF No. 21-1 at pp.15–17; see also ECF No. 37 at p.3.] The

Murdaugh Defendants do not dispute the fact that the endorsement limits the CGL Policy’s

coverage. Rather, they respond (and argue in their own motion) that Plaintiff’s argument with

respect to the Umbrella Policy is “misguided.” [ECF No. 28 at pp.9–12; see also ECF No. 34-1 at

pp.9–11.] To support their position, the Murdaugh Defendants rely on their interpretation of

“underlying insurance.”

    But first, the court begins with the CGL Policy’s endorsement. It is summarized above, but

included in full below:

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

LIMITATION OF COVERAGE TO DESIGNATED ACTIVITIES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                  SCHEDULE

 Activities:




This insurance applies only to "bodily injury," "property damage," "personal and advertising injury," and
medical expenses arising out of the Activities listed in the above SCHEDULE.

All other terms and conditions of this policy remain unchanged.

[ECF No. 1-2, Limitation of Coverage to Designated Activities.] Unquestionably, and undisputed

by the Murdaugh Defendants, the endorsement further limits the coverage available under the CGL

Policy. Pursuant to the endorsement, the CGL coverage “applies only to ‘bodily injury’ . . . arising

out of [Private hunting operations].” Id.

    The endorsement’s language is clear and unambiguous. The Murdaugh Defendants, aside from

their illusory coverage doctrine argument (an argument this court has already rejected), do not

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dispute that fact. Further, a review of the Underlying Complaint evidences that there are simply

no allegations of bodily injury arising out of private hunting operations.17 The Murdaugh

Defendants put up no dispute on that front either. Thus, because the language of the CGL Policy’s

endorsement is unambiguous and the Underlying Lawsuit does not allege private hunting

operations—meaning there is no possibility of coverage under the CGL Policy—Plaintiff is

entitled to judgment as a matter of law.

     At this point, the court need only take up whether the Umbrella Policy incorporates the

endorsement into its policy terms. Plaintiff argues it does. The Murdaugh Defendants argue it

does not. To determine which party is correct, the court will begin with the language of the follow

form endorsement. It reads:

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             GENERAL LIABILITY FOLLOW FORM ENDORSEMENT
 This endorsement modifies insurance provided under the following:

 COMMERCIAL UMBRELLA LIABILITY INSURANCE POLICY

 This policy is intended to include Commercial General Liability Coverage.

 The Commercial General Liability insurance provided will follow the same provisions, exclusions and
 limitations that are contained in the applicable "underlying insurance" shown in the Schedule of Underlying
 Insurance unless otherwise directed by this policy, or an endorsement to this policy.

 To the extent that such provisions differ or conflict, the provisions of this policy will apply. However, the
 coverage provided under this policy will not be broader than that provided by the applicable "underlying
 insurance."

 Any per location or per project aggregate limit of insurance that is extended in the applicable "underlying
 insurance" shown in the Schedule of Underlying Insurance will not apply to the coverage provided by this
 endorsement.




17
   Private hunting operations is not a defined term in the policy. Thus, the court defines the term
“according to the usual understanding of the term’s significance to the ordinary person.” Dupps
v. Underwriters of Lloyd’s London, No. 9:09-cv-2396, 2013 WL 12153601, at *2 (D.S.C. Jan. 9,
2013) (citing Mfrs. & Merchs. Mut. Ins. Co. v. Harvey, 498 S.E.2d 222, 225 (S.C. Ct. App. 1998)).
The Underlying Complaint’s allegations related to the Murdaugh Defendants’ conduct and the
boat crash do not meet the “usual understanding” of private hunting operations.
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[ECF No. 1-3, General Liability Follow Form Endorsement.]

   The Murdaugh Defendants focus on the endorsement’s references to “underlying insurance.”

They argue that Plaintiff’s reliance on the follow form endorsement is “erroneously based upon

the premise that the CL Policy is the only possible appliable ‘underlying policy’ for which the

Umbrella Policy would provide excess coverage.” [ECF No. 28 at p.10; ECF No. 34-1 at p.10.]

According to the Murdaugh Defendants, the follow form endorsement pulls in the Progressive

policy as the “underlying insurance” because it is “the applicable” underlying insurance as

“otherwise directed by this policy.” Id. But just as the court rejected the Murdaugh Defendants’

“underlying insurance” argument above, it must reject it here. And a plain reading of the

endorsement supports the court’s conclusion.

   The endorsement confirms that the intent of the policy is to provide Commercial General

Liability Coverage and notes that the endorsement modifies the insurance provided by the

Umbrella Policy. It goes on to states that the “Commercial General Liability Insurance provided

will follow the same provisions, exclusions, and limitations that are contained in the applicable

‘underlying insurance’ shown in the Schedule of Underlying Insurance unless otherwise directed

by this policy, or an endorsement to this policy.” [ECF No. 1-3, General Liability Follow Form

Endorsement (emphasis added).]




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     At the outset, the court notes that the only underlying insurance “shown in” the Schedule is the

CGL Policy.18 Therefore, the CGL Policy is “the applicable ‘underlying insurance,” “unless”

something else in the Umbrella Policy dictates a different result.

     The Murdaugh Defendants’ “unless” argument tracks their “underlying insurance” argument.

They submit that because the definitions of “underlying insurance” and “underlying insurer”

include “any other insurance available to the insured,” the Progressive policy is “other insurance

available” to them, and thus the Umbrella Policy does not follow form to the CGL Policy. In sum,

the Murdaugh Defendants believe the policy “otherwise directs.”

     For the same reasons outlined in Section III(B)(2), supra, the court finds that the definitions of

“underlying insurance” and “underlying insurer” do not expand so far as to include the Progressive

policy. Necessarily then, the CGL Policy is the “applicable ‘underlying insurance’ shown in the

Schedule of Underlying Insurance” and nothing in the Umbrella Policy “otherwise direct[s]” a

different result. Applying the plain language of the follow form endorsement, the court concludes

that the coverage available under the Umbrella Policy is “not broader than that provided by the

[CGL Policy].” Id. It “follow[s] the same provisions, exclusions, and limitations,” including the

Limitation of Coverage to Designated Activities endorsement.

     For this additional reason, Plaintiff is entitled to judgment as a matter of law on its request for

a declaration that there is no coverage available to the Murdaugh Defendants based on the




18
   The preceding phrase “the applicable” references the fact that there are ten (10) different slots
on the Schedule of Underlying Insurance. [ECF No. 1-3, Schedule of Underlying Insurance.]
There are slots for Employers’ liability, Commercial Auto Liability, Professional Liability, etc.
And, as applicable here, Commercial General Liability. Id. Because there is only one Commercial
General Liability insurance policy listed in the Schedule and the endorsement states that it is
intended to include Commercial General Liability Coverage, the “applicable [i.e., the one of ten
potential options] ‘underlying insurance’ shown in the Schedule of Underlying Insurance” is the
CGL Policy. Id. at General Liability Follow Form Endorsement.
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allegations in the Underlying Lawsuit. Plaintiff has no duty to defend the Murdaugh Defendants

in that action. Having concluded that Plaintiff is entitled to judgment as a matter of law with

respect to the Murdaugh Defendants failing to qualify as “insureds” under the two policies and the

Underlying Lawsuit failing to allege a bodily injury arising out of private hunting operations, the

court declines to reach the parties’ arguments on “occurrence” and the two policy exclusions.

                                        CONCLUSION

   For the foregoing reasons, Plaintiff Philadelphia Indemnity Insurance Company’s Motion for

Summary Judgment [ECF No. 21] is GRANTED, and Defendants Richard Alexander Murdaugh

and Richard Alexander Murdaugh, Jr.’s Motion for Summary Judgment [ECF No. 34] is DENIED.

The court DECLARES that the policies at issue do not provide coverage and Plaintiff does not

owe the Murdaugh Defendants a defense in the Underlying Lawsuit as a matter of law.

   IT IS SO ORDERED.

                                                            /s/ Sherri A. Lydon
                                                            United States District Judge
September 21, 2021
Florence, South Carolina




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